JUDGE VYSKOCIL

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

Civil Action No.

ROBERT G. LOPEZ, an individual,

Plaintiff,

 

00905

Vv.

NIKE, INC.,

WABI SABI, INC.,

G&S SPORTING GOODS, LLC,
BIERGARTEN HOLDINGS CORP.,
SCHOTT BROS, INC.,

RAGEON, INC., and

Does 1-10

JURY TRIAL DEMANDED

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Defendants.

COMPLAINT FOR TRADEMARK INFRINGEMENT,
UNFAIR COMPETITION, COPYRIGHT INFRINGEMENT AND RELATED CLAIMS
Plaintiff, Robert G. Lopez, alleges his complaint against Defendants, Nike, Inc. (“Nike”),
Wabi Sabi, Inc., G&S Sporting Goods, LLC (‘G&S”), Biergarten Holdings, Corp,
(“Biergarten”), Schott Bros, Inc., Rageon, Inc. (“Rageon”) and Does 1-10 as follows:

NATURE OF THE ACTION

1. This action arises from the Defendant’s Nike, Wabi Sabi, G&S, Biergarten and
Schott Bros. infringement of Plaintiff's “ownership” and exclusive “use” rights in the marks
LES NYC®, LES™, 537™ and LOWER EAST SIDE™ in conjunction with clothing and
related goods. Despite Plaintiff being the registered owner of the trademarks LES NYC®
LES™, and LOWER EAST SIDE™ and offering various clothing items under such brand
names, the Defendants have infringed Plaintiff's rights in the aforementioned marks by placing

Plaintiff's aforementioned trademarks on Defendant’s Nike, Wabi Sabi, G&S, Biergarten and

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Schott Bros. footwear, clothing and/or head wear products and are manufacturing, printing,
producing, promoting, advertising, selling, and offering for sale sneakers and clothing items
including and under Plaintiffs trademarks. Plaintiff has already experienced “actual confusion”
in connection with this matter and is likely to continue to experience confusion as to the
affiliation, association or connection between all of the Defendants named in this action and
Plaintiff resulting in the unjust enrichment of all the Defendants by using Plaintiff's registered

trademarks and/or copyright.

Defendant Rageon has inftinged Plaintiffs copyright and has copied, published,
reproduced and exploited the design depicted below on clothing and other similar goods and
items, which infringes Plaintiff's federally registered copyright for the work titled “Trust No
One T-Shirt Design”:

 

JURISDICTION AND VENUE

2. This Court has jurisdiction over this action pursuant to 15 U.S.C. §1051 ef seq.,
15 U.S.C. Sections 1114-1116; under Section 43(a) of the Trademark Act, 15 U.S.C. §1125(a),
Section 43(c) of the Trademark Act, 15 U.S.C. §1125(c), 17 U.S.C. §101, et. seq., 17 U.S.C.
§501-509 and 28 U.S.C. §1367.

3, This Court has personal jurisdiction over the Defendants because Defendants

engage in continuous and significant business activities in, and directed to the State of New York

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within this judicial district and because Defendants have committed tortuous acts aimed at and

causing harm within the State of New York and this judicial district.

4. Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(b) and (c)
because it is where Plaintiff resides and the Defendants transacts business in this district, and
because a substantial portion of the events giving rise to the asserted claims have occurred, and
continue to occur, within this district. Furthermore, the damage to Plaintiff and his intellectual

property described herein continues to occur in this judicial district.

THE PARTIES

5. Plaintiff, Robert G. Lopez is an individual residing at 230 Clinton Street, Apt.
#11C, New York, NY 10002.

6. Upon information and belief, Defendant Nike, Inc. is an Oregon Corporation with

a principal place of business at One Bowerman DR, Beaverton, Oregon 97005.

7. Upon information and belief, Defendant Wabi Sabi, Inc. is a Delaware
Corporation with a principal place of business at 714 Valencia Street — San Francisco, California

94110.

8. Upon information and belief, Defendant G&S Sporting Goods, LLC is a
Delaware Limited Liability Company with a principal place of business at 336 W. 37" Street,
New York, New York 10018.

9. Upon information and belief, Defendant Biergarten Holdings Corp. is a Delaware
Corporation with a principal place of business at 7 Rivington Street — Front A, New York, New
York 10002.

10. Upon information and belief, Defendant Schott Bros, Inc. is a New Jersey

Corporation with a principal place of business at 735 Rahway Ave., Union, New Jersey 07083.

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11. Upon information and belief, Defendant Rageon, Inc. is a Delaware Corporation

with a principal place of business at 1163 E 40" Street — Suite 211, Cleveland, Ohio 44114.

12. Plaintiff is ignorant to the true names of Defendant’s John Doe 1 through 10.
Plaintiff will amend this complaint when the true names of Does | through 10 are discovered.
Plaintiff is informed and believes that Defendants Does 1 through 10, inclusive, are
manufacturers, vendors, distributors and online retailers of clothing products illegally offered for

sale using Plaintiffs trademarks and copyrights.
FACTS

13. Since at least as early as 1997, Plaintiff Robert G. Lopez has been selling
headwear, t-shirts, sweaters, hoodies and other clothing items under the LES NYC®, LOWER
EAST SIDE™, and LES™ brand names.

14. Since at least as early as 1999, Plaintiff has been independently operating a
clothing business under the trade name L.E.S. CLOTHING CO.™, which has sold headwear, t-
shirts, sweaters, hooded sweatshirts and other related clothing items under the marks LES
NYC®, LOWER EAST SIDE™ and LES™ . Since at least as early as 2010, Plaintiff has also
been selling clothing items under the mark LOYALTY EQUALS STRENGTH™ which is an
additional representation of what the LES™ acronym stands for and represents. Since 2010
Plaintiff has also sold clothing under the mark 537™, The numbers “537” turned upside down
produce the letters “LES.”

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15. In addition to selling and offering for sale clothing items under the LOWER
EAST SIDE™, LES NYC®, LES™, 537™ and LOYALTY EQUALS STRENGTH™ brand
names, Plaintiff has also continuously sold and offered for sale various clothing items including
caps, hooded sweatshirts and t-shirts which bear the LOWER EAST SIDE™, LES™ 537™
and LES NYC® marks in various font and design styles which are prominently displayed on the

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front and/or back of the headwear, t-shirts and/or sweaters as well as printed on hang tags,

clothing labels, stickers and on clothing product packaging materials.

16. Plaintiff uses the ®, ™ and © symbols on product packaging materials, hang tags,
and on promotional materials such as flyers, banners, business cards, etc. to put the public on
constructive notice that Plaintiff is claiming trademark rights in the LOWER EAST SIDE™ ,
LES™ and LES NYC® brand names. Plaintiff also uses the aforementioned copyright symbol
to also put the public on constructive notice that he is claiming copyright in some of the specific
LOWER EAST SIDE™, 537™, LES™ and LES NYC® stylized designs that are released,
sold and offered for sale by Plaintiff and his LES CLOTHING CO.™ business

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43 Clinton Street New York, New York 10002

(212) §39-1340

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@ @lesclothingco (j Clesciothingce

www.lesclothing.com

17. Plaintiff sells, and promotes the sale of his clothing via his website
www.lesclothing.com, through social media promotions including but not limited to Instagram
and Facebook, and his t-shirts, sweaters caps and other clothing items are also available for sale
in several retail locations in New York and other States. From 2012 to 2015 Plaintiff also
maintained a Flagship LES Clothing Co. store located at 43 Clinton Street, New York, NY

10002 and in 2019 re-stablished a flagship location at 40 Clinton Street, New York, New York
10002.

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18. Plaintiff advertises his LES CLOTHING CO™, LOWER EAST SIDE™, THE
LOWER™, LES™, 537™ and LES NYC® brands and clothing items through flyers, posters,

stickers and through grass root street marketing methods such as painted “street murals.”
Plaintiff also places online advertisements via Facebook and Instagram. Plaintiff also regularly
conducts photo shoots of customers who purchase his LOWER EAST SIDE™ and LES NYC®

clothing items to be included in magazine advertisements and other marketing materials.

19. Plaintiff has a social media following of over twenty thousand 20,000 combined
followers for his LOWER EAST SIDE™ LES™ and LES NYC® clothing products and with
his sponsored and/or affiliated social media friends and followers each individual post and
product offering reaches an audience in the range of a hundred thousand 100,000 social media

users and potential consumers of his clothing products.

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20. The LOWER EAST SIDE™ LES™ and LES NYC® brands and marks have
acquired “secondary meaning” in the marketplace in connection with the sale and offering of
clothing goods based on Plaintiffs continuous and long-standing use of the marks in the apparel

industry for nearly twenty (20) years.

21. When consumers of clothing products encounter the LOWER EAST SIDE™
LES™ 537™ and LES NYC® marks in connection with apparel, they associate the LES™,
537™, LOWER EAST SIDE™ and LES NYC® marks with Plaintiff and his LES
CLOTHING CO.™ company.

22. Plaintiff's LOWER EAST SIDE™ and LES NYC® clothing products enjoys a

superlative reputation in the apparel industry.

23. ‘Plaintiff's LOWER EAST SIDE™, LES™, 537™ and LES NYC® clothing
items have been endorsed and worn by celebrities, actors and musicians, including but not

limited to actor Luis Guzman and Curtis “50 CENT” Jackson.

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24. Plaintiff's LOWER EAST SIDE™, LES™ and LES NYC® clothing items have
also appeared in movies and on television shows including but not limited to VH1’s BLACK

INK CREW, and VH1’s LOVE & HIP HOP television shows.

25. Plaintiffs LOWER EAST SIDE™ and LES NYC® clothing items have been
featured and advertised in national publications including but not limited to XXL Magazine and

Don Diva Magazine.

26. Since at least as early as 2007, Plaintiff has been building a portfolio that consists
of various trademarks and copyrights that act as business assets for his LES CLOTHING

CO.™ business.

27. Plaintiff only claims “exclusive use” rights of the LOWER EAST SIDE™
LES™ and LES NYC® marks in connection with apparel and the promotion and sale thereof.

28. Plaintiff licenses the LOWER EAST SIDE™, LES™ and LES NYC® marks
and his copyrighted LOWER EAST SIDE© designs to third party clothing companies to be

used on clothing goods under his direct control and authorization.

29, Plaintiff is the registered owner of New York State Trademark Registration No.
R31067 and R32849 both for the mark LOWER EAST SIDE™. (See Exhibit A).

30. Plaintiff is the registered owner of New York State Trademark Registration No.
R31773 for the mark THE LOWER™. (See Exhibit B).

31. Plaintiff is the registered owner of United States Trademark Registration No.
4,549,880 for the mark LES NYC® which is the abbreviation and/or acronym for the mark
LOWER EAST SIDE NEW YORK CITY™. (See Exhibit C).

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32. Plaintiff is the registered owner of United States Copyright Registration No. VA
1-765-666 for the work under the title L.E.S. Cap. (See Exhibit D).

33. Plaintiff is the registered owner of United States Copyright Registration No. VA
2-052-462 for the work under the title Circular LES Design Photo. (See Exhibit E).

34. Plaintiff is the registered owner of United States Copyright Registration No. VA
1-775-922 for the work under the title 537 design (“the 537 numbers turned upside down spell
LES™). (See Exhibit F).

35. Plaintiff is the registered owner of United States Copyright Registration No. VA
1-818-626 for the work under the title “L Hand” Design which L design is a representation for
LES™ and LOWER EAST SIDE™. (See Exhibit G).

36. The mark LOWER EAST SIDE® is a federally registered trademark under
United States Trademark Registration No. 2,416,437 that has been rendered “incontestable”
under Section 15 of the Trademark Act and is therefore not open to challenge as to its function as
a trademark and brand name as it has been in continuous use as a brand name in excess of fifteen

(15) years. (See Exhibit H).

37. Plaintiff has a Co-Existence Agreement with Payless Shoesource Worldwide, Inc.
who is the owner of United States Trademark Registration No. 2,416,437 for the mark LOWER
EAST SIDE®, which allows the parties to co-exist in the marketplace and both utilize the
LOWER EAST SIDE™ mark but limits Payless’s use of the mark to “footwear” and grants
and/or limits Plaintiff's rights in the LOWER EAST SIDE™ mark to “t-shirts, sweaters,

headwear’ and all other forms of clothing that exclude footwear.

38. By virtue of his Co-Existence Agreement with Payless Shoesource Worldwide,
Inc. regarding use of the LOWER EAST SIDE® mark, Plaintiff claims joint ownership in
United States Trademark Registration No. 2,416,437 for the mark LOWER EAST SIDE® and

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has standing to bring this trademark infringement action under all applicable federal laws and

statutes.

39. Although Plaintiff has been using his LOWER EAST SIDE™ and LES NYC®
marks since at least 1997, in 2007, Plaintiff took the necessary precautions in protecting his
business assets and began building a portfolio of various trademark and copyrights assets to
protect the brand names, designs and images that he offers under his LES CLOTHING CO.™

apparel business.

40. As a small business owner, Plaintiff has aggressively policed and enforced his
rights in his intellectual property business assets against clothing retailers and ecommerce
entities that manufacture, print, advertise, promote, sell and/or offer for sale clothing and similar

items that violate Plaintiffs trademarks and/or copyrighted designs.

41, Defendant Nike, Inc. is a major retailer of footwear and apparel products and has
flagship retail clothing stores worldwide. Defendant Nike also distributes its footwear and

clothing products through various retail clothing stores in New York and worldwide.

42. Defendant Nike also operates an online retail clothing and footwear store via its

website www.nike.com.

43. Plaintiff is informed and believes and thereon alleges that Defendant Nike is
manufacturing, marketing, promoting, advertising, selling and offering for sale a sneaker
including and bearing Plaintiffs LES™, 537™, LES NYC® and/or LOWER EAST SIDE™
marks. Defendant Nike, promoted the release of the “Project 537” sneaker bearing Plaintiff's
LES™, 537™ and/or LES NYC® marks on or about November of 2019 via its www.nike.com
website Nike By You division.the promotion of the sneaker on the nike.com website included the
Plaintiff's LES™, 537™ LOWER EAST SIDE™ and/or LES NYC® marks. Defendant Nike
also uses Plaintiff's trademark by embroidering the “537” and “LES” marks on the rear of the

Nike sneaker as shown below.

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44, Defendant Nike’s use of Plaintiff's LES™, 537™ and/or LES NYC® trademarks
has already caused confusion and is likely to continue to cause confusion as to the source of
footwear and clothing products under the 537™, LES™ LOWER EAST SIDE", and/or LES
NYC® marks.

45, Defendant Nike’s use of the 537™ mark on the back of its sneaker is identical to

the font Plaintiff uses on his own 537™ clothing products which increases the likelihood of

further confusion.

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Some of Plaintiff’s products bearing the 537™ mark:

 

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46. Defendant Nike’s continued use of any variation of Plaintiffs LOWER EAST
SIDE™ LES™ 537™ and/or LES NYC® marks is likely to continue to cause confusion as to

the source of apparel and footwear products under the aforementioned marks.

47. Defendant Nike’s use of Plaintiff’s trademarks is not considered a fair use as it is

using the marks for commercial business purposes and for a profit.

48. Upon information and belief, Defendant Nike is aware of Plaintiff's ownership

rights and trademarks in the marks LES NYC® LES™, 537™ and LOWER EAST SIDE™.

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49, Defendant Nike’s infringement of Plaintiffs trademarks is willful as it is aware of

the infringing content it is selling and offering for sale.

50. Defendant Nike has acted in bad faith in using Plaintiff's trademarks as it has
attempted to palm off the good will and reputation that Plaintiff has built in his LES NYC®,
537™, LES™ and LOWER EAST SIDE™ marks.

51. Defendant Wabi Sabi, Inc. is a retailer of clothing products and is using Plaintiff’s
LES NYC® and LOWER EAST SIDE™ marks by manufacturing, printing, marketing,
promoting, advertising, selling and offering for sale via its website www.selfedge.com a t-shirt
bearing LOWER EAST SIDE NEW YORK in a circular design that is placed on the front of
the t-shirt in a printed silk screen printed application. The aforementioned t-shirt printed and
sold by Defendant Wabi Sabi also has a silk screen print on the back of the t-shirts that reads
LES NEW YORK, NY. The aforementioned use by Wabi Sabi infringes and is a use in
commerce of Plaintiff's LES NYC™ and LOWER EAST SIDE™ trademarks.

52. Defendant Wabi Sabi’s use of Plaintiff's trademarks has already caused confusion
and is likely to continue to cause confusion as to the source of clothing products under the

LOWER EAST SIDE™ and/or LES NYC® marks.

53. Defendant Wabi Sabi’s use of Plaintiff's trademarks is not a fair use as Wabi Sabi

is using the marks for commercial business purposes and for a profit.

54. Defendant Wabi Sabi has the ability to manage, monitor and control the

infringing activity that violates Plaintiffs trademarks.

55. Upon information and belief Defendant Wabi Sabi is aware and has knowledge of
Plaintiff's ownership rights in the LOWER EAST SIDE™ and LES NYC® marks.

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56. Defendant Wabi Sabi’s infringement of Plaintiffs LES NYC® and LOWER
EAST SIDE™ trademarks is willful as it is aware of the infringing content it is selling and

offering for sale from its website.

57. Defendant Wabi Sabi has acted in bad faith in using Plaintiff's trademarks as it
has attempted to palm off the good will and reputation that Plaintiff has built in his LES NYC®
and LOWER EAST SIDE™ marks.

58. Defendant G&S Sporting Goods, LLC is a retailer of apparel products and
sporting goods.

59. Defendant G&S operates an online retail clothing store via its website

www.gsfightsupply.com that sells clothing goods.

60. Plaintiff is informed and believes and thereon alleges that Defendant G&S is
using Plaintiff's LES NYC™ trademark in commerce and has manufactured and is marketing,
promoting and offering for sale a t-shirt and cap bearing Plaintiff's LES NYC® mark by placing
the mark on the front of the t-shirt in a silk screen printed application and by placing Plaintiff's
LES NYC™ mark on the front of the cap in an embroidered application and is selling the

products via its website.

61. Defendant G&S’s use of Plaintiffs trademark has already caused confusion and is
likely to continue to cause confusion as to the source of clothing products under Plaintiff's LES

NYC® mark.

62. Defendant G&S’s continued use of any variation of Plaintiff's LES NYC® mark
is likely to continue to cause confusion as to the source of apparel products under the

aforementioned mark.

63. Defendant G&S’s use of Plaintiff's trademarks is not considered a fair use as it is

using the marks for commercial business purposes and for a profit.

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64. Upon information and belief, Defendant G&S is aware of Plaintiff's ownership

rights and trademarks in the marks LES NYC® and LOWER EAST SIDE™.

65. Defendant G&S’s infringement of Plaintiff's LES NYC® trademark is willful as

it is aware of the infringing content it is selling and offering for sale.

66. Defendant G&S has acted in bad faith in using Plaintiff's trademarks as it has
attempted to palm off the good will and reputation that Plaintiff has built in his LES NYC®
and/or LOWER EAST SIDE™ marks.

67. Defendant Biergarten operates an online retail clothing store via its website

https://loreley-beer-garden.myshopify.com.

 

68. Plaintiff is informed and believes and thereon alleges that Defendant Biergarten is
manufacturing, marketing, promoting, advertising, selling and offering for sale a hoodie bearing
Plaintiffs LOWER EAST SIDE™ and LES NYC® marks via its website referenced in

paragraph 67 above which violates Plaintiffs trademark rights in the aforementioned marks.

69. Defendant Biergarten’s use of Plaintiffs trademarks has already caused confusion
and is likely to continue to cause confusion as to the source of clothing products under the

LOWER EAST SIDE™ and/or LES NYC® marks.

70. Defendant Biergarten’s continued use of any variation of Plaintiffs LOWER
EAST SIDE™ and/or LES NYC® marks is likely to continue to cause confusion as to the

source of apparel products under the aforementioned marks.

71. Defendant Biergarten’s use of Plaintiff's trademarks is not considered a fair use as

it is using the marks for commercial business purposes and for a profit.

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72. Upon information and belief, Defendant Biergarten is aware of Plaintiffs

ownership rights and trademarks in the marks LES NYC® and LOWER EAST SIDE™.

73. Defendant Biergarten’s infringement of Plaintiff's trademarks is willful as it is

aware of the infringing content it is selling and/or offering for sale.

74. Defendant Biergarten has acted in bad faith in using Plaintiffs trademarks as it
has attempted to palm off the good will and reputation that Plaintiff has built in his LES NYC®
and LOWER EAST SIDE™ marks.

75. Defendant Schott Bros. is a retailer of apparel products and has retail clothing

stores in New York, California and various other states.

76. Plaintiff is informed and believes and thereon alleges that Defendant Schott Bros.
Is using Plaintiff's LES NYC® and LOWER EAST SIDE™ trademarks in commerce and is
manufacturing, advertising, promoting, selling and offering for sale a collection of t-shirts and
other shirts that place Plaintiffs federally registered LES NYC® and LOWER EAST SIDE™
on its t-shirts and other shirts which violate Plaintiff's trademark rights in the aforementioned

marks.

77. Defendant Schott Bros. use of Plaintiffs LES NYC® and LOWER EAST
SIDE™ trademarks has already caused confusion and is likely to continue to cause confusion as

to the source of clothing products under the LOWER EAST SIDE™ and/or LES NYC® marks.

78. Defendant Schott Bros. continued use of any variation of Plaintiffs LOWER
EAST SIDE™ and/or LES NYC® marks is likely to continue to cause confusion as to the

source of apparel products under the aforementioned marks.

79, Defendant Schott Bros. use of Plaintiffs trademarks is not considered a fair use as

it is using the marks for commercial business purposes and for a profit.

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80. Upon information and belief Defendant Schott Bros. is aware of Plaintiffs

ownership rights and trademarks in the marks LES NYC® and LOWER EAST SIDE™.

81. Defendant Schott Bros. infringement of Plaintiff's trademarks is willful as it is

aware of the infringing content it is selling and offering for sale.

82. Defendant Schott Bros has acted in bad faith in using Plaintiff's trademarks as it
has attempted to palm off the good will and reputation that Plaintiff has built in his LES NYC®
and LOWER EAST SIDE™ marks.

83. Plaintiff was been contacted by several long-standing customer of his LES
CLOTHING CO™ LOWER EAST SIDE™ THE LOWER™ and LES NYC® clothing
products regarding the LOWER EAST SIDE™ and LES™ branded products that are offered
and sold by each Defendant named in this action thinking the products were sponsored, affiliated

and/or done in collaboration with Plaintiff and his LES Clothing Co™ company and business.

84. | Defendant Rageon owns and operates an online retail store that allows its users
and account holders to sell products, including but not limited to clothing items such as t-shirts
and sweaters that infringe third parties intellectual property rights including Plaintiff's
trademarks and copyright.

85. Defendant Rageon is selling, offering for sale, promoting and advertising clothing

items that infringe on Plaintiff's copyrights.

86. Defendant Rageon is exploiting, copying, reproducing, selling and offering for
sale, clothing items that infringe Plaintiff's Trust No One T-Shirt Design copyright from its
website www.rageon.com. (See Exhibit G).

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87. In 2014, Plaintiff designed a t-shirt image to be offered under his LES
CLOTHING CO™’s LOYALTY EQUALS STRENGTH™ collection. The design was titled
and included the words “TRUST NO ONE” and depicted the image below:

 

88. Plaintiff currently offers for sale and has been selling clothing under the Trust No
One T-Shirt Design since at least 2014.
Plaintiff’s Products under this design

    

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Home Frontpage LES Clothing Co. "Trust Home Frontpage LES Clothing Co. "Trust
No One" Tee No One" Tee

  

LES Clothing Co.™ "Trust No LES Clothing Co.™ "Trust No
One" Tee One" Tee
5 14.99 $30.00 5 14.99 $36.00

89. Plaintiff is the registered owner of United States Copyright Registration No. VA
2-068-993 for the work under the title “Trust No One T-Shirt Design.” (See Exhibit H).

90. Defendant Rageon, without authorization or consent from Plaintiff has copied,
reproduced, exploited, advertised, marketed, sold and offered for sale clothing items under
Plaintiff's copyrighted Trust No One T-Shirt Design. A copy of the infringing design copied,
reproduced and offered for sale on clothing items by Rageon is depicted in the image below from

the www.rageon.com website:

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91. The above image, copied, reproduced, sold and offered on clothing products by
Rageon copies constituent elements of Plaintiffs “Trust No One T-Shirt Design” copyright and
constitutes copyright infringement. It is an identical copy and reproduction of the design portion

of Plaintiffs registered copyright.

92. The above designed and unauthorized use of Plaintiffs copyrighted design by
Bonanza.com is used on various t-shirt products offered by Bonanza. Each separately advertised
clothing item depicted in a different product offering is a separate and individual violation of

Plaintiff's Trust No One T-Shirt Design copyright.

93. Plaintiff provided Rageon with an Infringement Notice regarding his copyright
that is being infringed but it failed to act expeditiously in removing the infringing content as

requested by Plaintiff and as such is liable for copyright infringement.

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94. Upon information and belief, Defendant Rageon has the direct control over the

products sold from its website and has the ability to monitor and control the infringing activity.

95. Upon information and belief, Defendant Rageon continues to offer for sale

clothing items utilizing unauthorized copies of Plaintiff's copyright image.

96. A comparison of the above images makes it clear that the accused product is
substantially similar and/or identical to the design content of Plaintiffs Trust No One T-Shirt
Design. This violates Plaintiff's copyright in his Trust No One T-Shirt Design.

FIRST CAUSE OF ACTION
TRADEMARK INFRINGEMENT (15 U.S.C. §§ 1114-1116)

97. Plaintiff repeats and realleges each and every allegation contained in Paragraphs 1

through 96 of this Complaint.

98. The use in commerce by Defendants of an identical and slightly identical version
of Plaintiff's registered trademark is likely to cause confusion, mistake and deception among
members of the public and in trade as to the source, origin, or sponsorship of defendants’ goods
and services. Such use by Defendants constitutes a clear and direct infringement of Plaintiff's
rights in and to Plaintiff's registered trademark, and has resulted in injury and damage to Plaintiff
that will continue if Defendants are not ordered to cease all use of the LES NYC® and LOWER
EAST SIDE™ marks.

SECOND CAUSE OF ACTION
UNFAIR COMPETITION & FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a)

99. Plaintiff repeats and realleges each and every allegation contained in Paragraphs 1

through 98 of this Complaint.

26
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100. Plaintiff has the exclusive right to market, brand and provide clothing related
goods using the LES NYC®, 537™, LES™ and LOWER EAST SIDE™ marks.

101. Defendants Nike, Wabi Sabi, G&S, Biergarten, and Schott Bros. by reason of the
aforementioned acts, have falsely described, represented and designated the origin of its goods
and services. Defendants’ activities already have confused the public into believing that the
aforementioned Defendants and Plaintiffs clothing goods and accessories come from one and
the same source, and Defendants continued activities are likely to create further confusion and

deceive the public concerning the source of the goods/services.

102. Defendants have unfairly profited from the actions alleged herein and will
continue to unfairly profit and become unjustly enriched unless and until such conduct is

enjoined by this Court.

103. By reason of Defendants willful acts conducted in conscious disregard for

Plaintiff's rights, Plaintiff is entitled to treble damages under 15 U.S.C. § 1117(a).

THIRD CAUSE OF ACTION
COMMON LAW TRADEMARK INFRINGEMENT & UNFAIR COMPETITION

104. Plaintiff repeats and realleges each and every allegation contained in Paragraphs 1

through 103 of this Complaint.

105. Defendants conduct constitutes deception by which Defendants goods will be
palmed off as those of Plaintiff. Such conduct constitutes trademark infringement and unfair

competition in violation of the laws of the State of New York.

106. Defendants Nike, Wabi Sabi, G&S, Biergarten and Schott Bros. unauthorized use
of Plaintiffs LOWER EAST SIDE™, LES™, 537™ and LES NYC® marks is likely to
continue to cause further confusion to the public as to the clothing goods and accessories of the

respective parties.

27
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107. By reason of the foregoing, Defendants have infringed and continues to infringe
on Plaintiff's common law rights in the LOWER EAST SIDE™ and LES NYC® marks and

Defendants have become unjustly enriched by such acts of infringement.

108. Defendants unlawful conduct has been and will continue to be willful or willfully

blind to Plaintiff's rights, as Defendant has reason to know of Plaintiffs rights.

FOURTH CAUSE OF ACTION
COPYRIGHT INFRINGEMENT
(against Defendant Rageon, Inc. only)

109. Plaintiff repeats and realleges each and every allegation contained in Paragraphs 1

through 108 of this Complaint.

110. Plaintiff is the creator, author, and owner of all rights of copyright in and to the
Trust No One T-Shirt Design.

111. Plaintiff acquired copyright protection in the Trust No One T-Shirt Design in
2017 but has been utilizing the design and created the design in 2014.

112. Defendant Rageon, Inc. without authorization of Plaintiff as the owner of all
rights of copyright in the Trust No One T-Shirt Design, and in violation of 17 U.S.C. §§101 et
seq., has intentionally and willfully copied, distributed, and publicly displayed and sold and/or
offered for sale, a sweater and shorts that include a design that is identical or in the least,
substantially similar to the Plaintiff's copyrighted Trust No One T-Shirt Design, that is used on

his clothing items.

113. Defendant’s actions constitute copyright infringement and have caused and will

continue to cause Plaintiff irreparable harm and injury unless enjoined by this Court.

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114. By reason of Defendants infringement of Plaintiff's copyright in his Trust No One
T-Shirt Design in connection with clothing, Defendant Rageon has derived revenues and profits

attributable to said infringement, the amount of which has yet to be ascertained.

115. Defendant’s infringement of Plaintiff's copyright in the Trust No One T-Shirt
Design, was committed "willfully" as that term is used in 17 U.S.C. §504(c)(2). At all times
mentioned herein, and upon information and belief, Defendant was aware of, and had reason to

believe, that its acts constituted infringement of Plaintiff's copyrights.

FIFTH CAUSE OF ACTION
UNJUST ENRICHMENT

116. Plaintiff repeats and realleges each and every allegation contained in Paragraphs 1

through 115 of this Complaint.

117. Defendants have unjustly retained profits from the sale of clothing goods and
accessories bearing Plaintiff's LOWER EAST SIDE™, 537™ and/or LES NYC® marks and
Plaintiff's Trust No One T-shirt design.

118. Defendant’s actions constitute unjust enrichment.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully prays for relief as follows:

1. Entry of an order and judgment requiring that all Defendants, its subsidiaries,
officers, agents, servants, employees, owners, and representatives, and all other persons or
entities in active concert or participation with them, be preliminarily and, thereafter, permanently
enjoined and restrained from (a) using in any manner the trade name, trademark, domain name or
other indicia or origin, including in whole or part the term LOWER EAST SIDE™, 537™ LES
NYC®, or any colorable imitation thereof; (b) advertising, operating a website, using business

stationary or offering any goods or services using the trade name, trademark, domain name,

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URL, or any other indicia of origin including in whole or part the term LES NYC®, or any
colorable imitation thereof; (c) otherwise engaging in any acts of unfair competition and

infringement which tend to injure Plaintiff's rights in the LES NYC® mark.

2. That Defendants be required to account to Plaintiff for any and all profits derived
by it, and to compensate Plaintiff for all the damages sustained by reason of the acts complained

of herein, and that the damages herein be trebled pursuant to the Trademark Act.

3. That Defendants be ordered to deliver up for destruction any and all infringing
materials bearing the LOWER EAST SIDE™ and LES NYC® marks, and any colorable

imitation thereof, in whole or part.
4, That Plaintiff be awarded punitive damages.

5. That Defendants be required to place advertisements or send notifications to past
and present customers that it improperly has been using the LOWER EAST
SIDE™ and/or LES NYC® marks.

6. That Plaintiff be awarded statutory damages in the amount of $500,000.00 for

Defendants acts of willful infringement.

7. That Plaintiff be awarded statutory damages against Rageon in the amount of

$1,000,000.00 for Defendant Rageon’s acts of willful infringement of Plaintiff's

copyright.
8. That Plaintiff be awarded the cost and disbursements of this action.
9. That Plaintiff have such other and further relief as the Court deems just and
proper.

JURY DEMAND

30
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Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff hereby demands a trial by

jury as to all issues.

Dated: February 2, 2020 Respectfully submitted,

New York, New York Robert G. Wah Se

Robert G. Lopez

Pro Se Plaintiff

230 Clinton Street — Apt. #11C
New York, New York 10002
(917) 868-1698

31
GG JO TE Abed OZ/E0/ZO Palld zZUaWND0G AMW-GO6OO-A9-0Z:T ased
EXHIBIT A

Gg JO ze Abed OZ/E0/ZO Palld zZUaWNDI0G AMW-GO6OO-A9I-0Z:T ased
New York State Department of State
Certificate of Trademark Registration

I Daniel E. Shapiro, Special Deputy Secretary of State, do certify that the Trademark described below and depicted
on the attached copy has been duly registered in this Department pursuant to Article 24 of the General Business
Law. This registration will remain in force for TEN years fram the Date of Registration.

Registration Number:

Applicant:

State of Incorporation or
Partnership Organization:

Class Numbers:
Date First Used in NYS:

Trademark Description:
LOWER EAST SIDE

R31067 Repistration Date: 06/06/07

ROBERT G. LOPEZ
230 CLINTON STREET APT. HLIC

NEW YORK NY 10002-
25
12/1999 Date First Used Anywhere 12/1999

The mark is comprised of the words “Lower Kast Side" In stylised letters with an underline and overtine.

Description of Goods:

 

Gs JO ge Abed

Clothing, namely, T-shirts, Hooded Sweatshirts, Vext, Hats and Caps as adopted from
the USPTO.

WITNESS viy ft and and the seal of the State of New York In
the City of Albany on this:

Thursday, August 16, 2007

CrSthy

Special Deputy Secretary of State

hy:

DOS-690 (Rev. 3/00)

0Z/€0/Z0 Palla Z UAWND0G AMW-S0600-AI-02:T aseD
New York State Department of State
Certificate of Trademark Registration

 

1, Anthony Giardina, Executive Deputy Secretary of State, do certify that the Trademark described below aud depicted
on the attached copy has been duly registered in this Department pursuant to Article 24 of the General Business Law.
This registration will remain in force for TEN years from the Date of Registration.

Registration Number: R32849 Registration Date: 08/0/16
Applicant: ROBERT G. LOPEZ

230 CLINTON ST. - APT. LIC

NEW YORK NY 10002-

State of Incorporation or
Partnership Organization:

Class Numbers: 25
Date First Used in NYS: 12/01/1999 Date First Used Anywhere: 12/01/1999

Trademark Description:
The mark is comprised of the words LOWER EAST SIDE without claim to any particular font. style or design.

Description of Goods: Clothing, namely; t-shirts, sweaters, shorts and headwear.
WITNESS ty hand and the seat of the State of New York In
the City of Albany on this:
Thursday, August 11, 2016

Bet i

Executive Deputy Secretary of State

by:

DOS-690 (Rev. 8/13)

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EXHIBIT B

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New York State Department of State
Certificate of Trademark Registration

 

1 Daniel E. Shapiro, Special Deputy Secretary of State, do certify that tte Trademark described below and depicted on
the attached copy has been duly registered in this Department pursuant to Article 24 of the General Business Law. This
registration will remain in force for TEN years from the Date of Registration.

Registration Namber:

Applicant:

State of Incorporation or

Partnership Organization:

Class Numbers:

Date First Used in NYS:

Trademark Description:

25

R31773 Registration Date: £i/22/40
ROBERT G. LOPEZ

230 CLINTON ST. - APT #11C

NEW YORK NY 10002-

03/00/08 Date First Used Anywhere: 03/00/08

The mark is comprised of the words "THE LOWER" with five stars appearing beneath the literal element of the mark.

Description of Goods:

Clothing, namely; T-shirts, hooded sweatshirts and caps.

WITNESS iy hand and the seal of the State af New York in
the City of Albany on this:

Monday, Noventber 22, 2010

by:

Special Deputy Secretary of State

DOS-690 (Rev. 3/01)

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EXHIBIT C

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States of Amery,

Gnited States Patent and Trademark Office lly

LES NYC

Reg. No. 4,549,880
Registered June 17, 2014

Int. CL.: 25

TRADEMARK
PRINCIPAL REGISTER

 

Prctutl kK Zw

Deputy Director of the United States
Patent and Trademark Office

LOPEZ, ROBERT G. (UNITED STATES INDIVIDUAL)
230 CLINTON STREET - APT. #11C
NEW YORK, NY 10002

FOR: BASEBALL CAPS AND HATS; HOODED SWEATSHIRTS; SHORT-SLEEVED OR
LONG-SLEEVED T-SHIRTS; T-SHIRTS, IN CLASS 25 (U.S. CLS. 22 AND 39).

FIRST USE 12-0-1999; IN COMMERCE 12-0-1999.

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
TICULAR FONT, STYLE, SIZE, OR COLOR.

SEC, 2(F).
SER. NO. 85-335,314, FILED 6-1-2011.

ALICE BENMAMAN, EXAMINING ATTORNEY

Gg JO ge aBed OZ/EO/ZO Palld zZUSWND0G AMW-GO6OO-AI-0Z:T ased
EXHIBIT D

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Certificate of Registration

‘This Certificate issued under the seal of the Copyright
Office in accordance with title 17, Gaited States Cade,
attests that registration has been made for the work
identified below. Che information on this certificate has

: . .. Registration Number
been made a part of the Copyright Office records,

VA 1-765-666
“by ‘ ( 1 Effective date of
f \OAhenw A ™ all Ha registration:

Acting Register of Copyrights, United States of America January 20, 2011

 

Title

 

Title of Work: L.E.S. Cap
Completion/ Publication
Year of Completion: 2011

 

 

 

 

Date of Ist Publication: January 20, 2011 Nation of Ist Publication: United States
Author
™ Author: Robert G. Lopez
Author Created: — photograph(s)
Work made for hire: No
Citizen of: United States Domiciled in: United States
Year Born: 1976

Copyright claimant

Copyright Claimant: Robert G, Lopez,

230 Clinton Street, New York, NY, 10002, United States

Certification

Name: Robert G. Lopez

Date: January 20, 2011

 

Correspondence: Yes

Page | of 1
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EXHIBIT E

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Certificate of Registration

This Certificate issued under the seal of the Copyright

Office in accordance with due vy, United States Code,

attests that registration has been made for the work

identified below. The information on this certificate has , .

been niade a part of the Copyright Office records. VA 2.052.4¢
"A 2-052-462

i
i ” Effective Date of Registration:
June 15, 2017

Acting United States Register of Copyrights and Director

 

Title

 

Title of Work: — Circular LES Design Photo

~ Completion/Publication

 

Year of Completion: 2012
Date of Ist Publication: March 20, 2012
Nation of 1° Publication: United States

 

 

 

Author
. Author: Robert G Lopez
Author Created: — photograph
Citizen of United States

Copyright Claimant

Copyright Claimant: Robert G Lopez

230 Clinton Street, Apt. #1 1C, New York, NY, 10002, United Stuutes

Certification

Name: Robert G. Lopez.
Date: June 15, 2017

 

Page lof]

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EXHIBIT F

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Register of Copyrights, United States of America

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Office in-accordance with Wile 17, United States Code,
attests that registration has been made for the work
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been made a partof the C S Office records.

Registration Number

VA 1-775-922

Effective date of
registration:

June 1, 2011

 

Title
Title of Werk: 537 Design

 

Completion/ Publication
Year of Completion: 2010

Date of Ist Publication: December 15, 2010

Nation of Ist Publication: United States

 

 

Author
™ Author: Thomas Riley
Author Created: 2-D artwork
Work made for hire: Yes
Citizen of: United States Domiciled in: United States
Copyright claimant
Copyright Claimant; Robert G. Lopez
230 Clinton Street - #11C, New York, NY, 10002, United States
Transfer Statement: By written agreement
Certification

 

Name: Robert G. Lopez
Date: June 1, 2011

 

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EXHIBIT G

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This Certificate issued under the seal
Office in accordance with title 17, Unite va States © ‘ode,
attests that registration has been made
identified below. The information on this certificate has
been made a part of the Copyright Office records,

Vee. A Fthete

Register of Copyrights, United States of America

of the Copyright

for the work
Registration Number

VA 1-818-626

Effective date of
registration:
April 21, 2012

 

Title . co

Title of Work:

"L Hand" Design

 

Completion/Publication

Year of Completion:

Date of 1st Publication:

2012

April 19, 2012 Nation of Ist Publication: United States

 

 

 

Author
" Author: Robert G Lopez
Author Created: — photograph(s)
Work made for hire: No
Citizen of: United States Domiciled in: United States
Year Born: 1976
Copyright claimant
Copyright Claimant: Robert G. Lopez.
330 Clinton Street - 411C, New York, NY, 10002, United States
Certification
Name: Robert G. Lopez
Date: April 21, 2012

 

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Page 1 of |
EXHIBIT H

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Trademarks > Trademark Electronic Search System (TESS)

TESS was last updated on Fri Jun 2 02:21:45 EDT 2017

 

 

     

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LOWER EAST SIDE

 

 

~ Word Mark
Goods and Services

Mark Drawing Code
Serial Number

Filing Date

Current Basis
Original Filing Basis
Published for
Opposition
Registration Number

International
Registration Number

Registration Date
Owner

Assignment Recorded

Attorney of Record
Prior Registrations
Type of Mark

  

   
    

 

Renewal

LOWER EAST SIDE

IC 025. US 022 039. G & S: Footwear. FIRST USE: 19980616. FIRST USE IN
COMMERCE: 19990616

(1) TYPED DRAWING
75652553

March 3, 1999

1A

1B

November 30, 1999
2416437
4220106

December 26, 2000

(REGISTRANT) PAYLESS SHOESOURCE WORLDWIDE, INC. CORPORATION
KANSAS Jayhawk Towers 700 SW Jackson Topeka KANSAS 66603

ASSIGNMENT RECORDED
ROBERT CARROLL
1795922

RADEMARK

 

Register PRINGIPAL
Affidavit Tex SECT 15, SECT 8 (6-YR). SECTION 8(10-YR) 20110108.

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products that have a longer stated production time.

*** Please check the Sizing tab for measurements as you may want to order a size
up. kk

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Certificate of Registration

This Certificate issucd under the seal of the Copyright
Office in aceordance with tithe 17, United States Code.
attests that registration has been made for the work
identified below. The information an this certificate las

 

Ae

Acting United States Register of Copyrights and Director

Title

heen made a part of the Copyright Office records.

li

 

Registration Number

VA 2-068-993

Effective Date of Registration:

January 21, 2087

 

‘Tide of Work:

Completion/Publication

Your of Campletion:
Date of Ist Publication:
Natian of & Publication:

‘Trost No Gne T-Shirt Design

 

2014
Oetober 20, 2045
United States

 

 

 

Author
* Authar: Robern G Lopez
Author Created: 2d artwork
Citizen of: United Stites
Copyright Claimant
Copyright Clabnant: Robert G Lapez
230 Clinton Street, Suite FEC. New York, NY, 10002, United States
Certification
Name: Robert G. lope
Date: January 21, 2017

 

Correspondence:

Gg jogg abedq 02/€0/ZO pallid Zz juawNd0q

Yes

Page bof}

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